      Case 1:19-cv-04355-VM-GWG Document 163 Filed 12/05/19 Page 1 of 3



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 SECURITIES AND EXCHANGE COMMISSION,

                                                 Plaintiff,          19-cv-04355 (LGS) (GWG)
                          -against-
                                                                     MOTION TO BE RELIEVED AS
 COLLECTOR’S COFFEE (d/b/a Collectors Café) and                      COUNSEL TO
 MYKALAI KONTILAI,                                                   VERONICA KONTILAI

                                                Defendants



                PLEASE TAKE NOTICE, that upon the attached declaration of David S. Hammer

(“Hammer”), attorney for relief defendant Veronica Kontilai, Hammer will move this Court on December

5, 2019 at 9:30 a.m., or as soon thereafter as the Court will direct, for an order (1) relieving Hammer from

acting as counsel for relief defendant Veronica Kontilai; and (2) staying all proceedings in this action for

a period of forty-five (45) days to enable relief defendant Kontilai to obtain new counsel.

Dated: New York, New York
       December 5, 2019

                                                                   David S. Hammer
                                                                   ________________
                                                                   David S. Hammer
                                                                   Attorney for Veronica Kontilai

                                                                   500 Fifth Avenue,
                                                                   34th Floor
                                                                   New York, New York 10110
                                                                   Telephone: 212-941-8118
                                                                   Email: davyh@aol.com
      Case 1:19-cv-04355-VM-GWG Document 163 Filed 12/05/19 Page 2 of 3



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 SECURITIES AND EXCHANGE COMMISSION,
                                                                19-cv-04355 (LGS) (GWG)
                                             Plaintiff,

                        -against-                               DECLARATION OF DAVID
                                                                HAMMER IN SUPPORT OF
 COLLECTOR’S COFFEE (d/b/a Collectors Café) and                 MOTION TO BE RELIEVED
 MYKALAI KONTILAI,                                              AS COUNSEL TO
                                                                VERONICA KONTILAI
                                            Defendants.


               DAVID S. HAMMER, under penalty of perjury, declares:

               1.      I am an attorney, admitted to the bar of this Court. In the present action, I

serve as counsel to relief defendant, Veronica Kontilai.

               2.      Ms. Kontilai has notified me that she has terminated my representation of

her in this matter due to serious professional differences on the conduct of her defense in this

action that cannot be resolved. For that reason, I am respectfully requesting the Court to grant an

order relieving me as counsel for Ms. Kontilai.

               3.      I am also requesting the Court to grant an order for a stay of all

proceedings for a period of forty-five (45) days to enable the defendant to obtain new counsel.

That period is necessary in order to enable Ms. Kontilai to find new counsel and obtain the

necessary approval of the insurance carrier that is providing coverage for the defense. The

temporary restraining order previously granted by the Court will not be affected by a stay

because, by previous agreement of the parties, it remains in effect pending hearing on the

plaintiff’s motion for a preliminary injunction. The Court previously referred determination of

that motion to Magistrate Judge Gabriel W. Gorenstein on consent of the parties. Magistrate

Judge Gorenstein will be informed of this motion.
     Case 1:19-cv-04355-VM-GWG Document 163 Filed 12/05/19 Page 3 of 3




            4.    I declare under penalty of perjury that the foregoing is true and correct.

Dated: New York, New York
       December 5, 2019


                                                               David S. Hammer
                                                         _____________________________
                                                                David S. Hammer
